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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


  FEDERAL TRADE COMMISSION,

                            Plaintiff,

               v.
                                                  HON. John Michael Vazquez
  RWJ BARNABAS HEALTH, INC.                       No. 2:22-cv-03416
        and

  SAINT PETER’S HEALTHCARE
  SYSTEM, INC.,

                            Defendants.


                       [PROPOSED] ORDER GRANTING
                    MOTION FOR CONFIDENTIALITY ORDER

              Upon consideration of Plaintiff Federal Trade Commission’s

 Unopposed Motion for Entry of Confidentiality Order,

              IT IS HEREBY ORDERED THAT the Motion is Granted.

              IT IS FURTHER ORDERED THAT, for the purpose of protecting

 the interests of the parties and third parties in the above-captioned matter against

 improper use and disclosure of confidential information produced in connection

 with this matter, this Confidentiality Order shall govern the handling of all

 Discovery Material as hereafter defined.


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       1.      As used in this Order, “Confidential Material” shall refer to any

 document or portion thereof that contains privileged information, competitively

 sensitive information, or sensitive personal information. “Sensitive personal

 information” shall refer to, but shall not be limited to, an individual’s Social

 Security number, taxpayer identification number, financial information, credit card

 or debit card number, driver’s license number, state-issued identification number,

 passport number, date of birth (other than year), and any sensitive health

 information identifiable by individual, such as an individual’s medical records.

 “Document” shall refer to any discoverable writing, recording, transcript of oral

 testimony, or electronically stored information in the possession of a party or a

 third party. “Commission” shall refer to the Federal Trade Commission (“FTC”),

 or any of its employees, agents, attorneys, and all other persons acting on its

 behalf, excluding persons retained as consultants or experts for purposes of this

 proceeding.

       2.      Any document or portion thereof produced by a Defendant or a third

 party during Plaintiff’s investigation or during the course of this proceeding that is

 entitled to confidentiality under the Federal Trade Commission Act, or any other

 federal statute or regulation, or under any federal court or Commission precedent

 interpreting such statute or regulation, as well as any information that discloses the

 substance of the contents of any Confidential Materials derived from a document


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 subject to this Order, shall be treated as Confidential Material for purposes of this

 Order. The identity of a third party producing such Confidential Material shall also

 be treated as Confidential Material for the purposes of this Order where the

 producing party has requested such confidential treatment.

        3.     The parties and any third parties, in complying with informal

 discovery requests, disclosure requirements, or discovery demands in this

 proceeding may designate any responsive document or portion thereof as

 Confidential Material, including documents obtained by them from third parties

 pursuant to discovery or as otherwise obtained.

        4.     The parties, in conducting discovery from third parties, shall provide

 to each third party a copy of this Order so as to inform each third party of his, her,

 or its rights herein.

        5.     A designation of confidentiality shall constitute a representation in

 good faith, after careful determination that the material is not reasonably believed

 to be already in the public domain, that counsel believes the material so designated

 constitutes Confidential Material as defined in Paragraph 1 of this Order.

        6.     Material may be designated as confidential by placing on or affixing

 to the document containing such material (in such manner as will not interfere with

 the legibility thereof), or, if an entire folder or box of documents is confidential, by

 placing or affixing to that folder or box, the designation “CONFIDENTIAL – FTC


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 V. RWJ AND SAINT PETER’S,” “CONFIDENTIAL – SUBJECT TO

 CONFIDENTIALITY ORDER,” or any other similar notice, together with an

 indication of the portion or portions of the document considered to be Confidential

 Material. Confidential information contained in electronic data or documents may

 also be designated as confidential by placing the designation “CONFIDENTIAL –

 FTC V. RWJ AND SAINT PETER’S,” “CONFIDENTIAL – SUBJECT TO

 CONFIDENTIALITY ORDER,” or any other similar notice, on the face of the CD

 or DVD or other medium on which the document is produced. Masked or

 otherwise redacted copies of documents may be produced where the portions

 masked or redacted contain privileged matter, provided that the copy produced

 shall indicate at the appropriate point that portions have been masked or redacted

 and the reasons therefor.

       7.     Confidential Material shall be disclosed only to: (a) the Court

 presiding over this proceeding, personnel assisting the Court, the Plaintiff,

 Plaintiff’s employees, and personnel retained by Plaintiff as experts or consultants

 for this proceeding; (b) judges and other court personnel of any court having

 jurisdiction of any appellate proceeding involving this matter; (c) outside counsel

 of record for any Defendant, their associated attorneys, and other employees of

 their law firm(s), provided they are not employees of a Defendant; (d) anyone

 retained to assist outside counsel in the preparation or hearing of this proceeding


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 including consultants, provided they are not affiliated in any way with a Defendant

 and have signed an agreement to abide by the terms of the confidentiality order;

 and (e) any witness or deponent who may have authored or received the

 information in question, or otherwise would have had access to the Confidential

 Material in question in the ordinary course of business.

       8.     Disclosure of Confidential Material to any person described in

 Paragraph 7 of this Order shall be only for the purposes of this proceeding and the

 related FTC administrative proceeding, and any appeals of either proceeding, and

 for no other purpose whatsoever, provided, however, that the Commission may,

 subject to taking appropriate steps to preserve the confidentiality of such material,

 use or disclose Confidential Material as provided by its Rules of Practice; sections

 6(f) and 21 of the Federal Trade Commission Act; or any other legal obligation

 imposed upon the Commission.

       9.     Should any Confidential Material appear in any pleading, motion,

 exhibit or other paper filed or to be filed with the Court, the Court shall be so

 informed by the Party filing such papers, and such papers shall be filed in camera.

 To the extent that such material was originally produced by a third party, the Party

 including the materials in its papers shall notify the producing party of such

 inclusion before the filing of such papers with the Court. Confidential Material

 contained in the papers shall continue to have in camera treatment until further


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 order of the Court, provided, however, that such papers may be furnished to

 persons or entities who may receive Confidential Material pursuant to Paragraphs 7

 or 8. Upon or after filing any paper containing Confidential Material, the filing

 party shall file on the public record a duplicate copy of the paper that does not

 reveal Confidential Material. Further, if the protection for any such material

 expires, a party may file on the public record a duplicate copy which also contains

 the formerly protected material.

       10.    If counsel plans to introduce into evidence at the hearing any

 document or transcript containing Confidential Material produced by another party

 or by a third party, counsel shall provide reasonable notice to the other party or

 third party for purposes of allowing that party to seek an order that the document or

 transcript be granted in camera treatment. If that party wants in camera treatment

 for the document or transcript, the party shall file a motion with the Court within 5

 days after it receives such notice. Except when an order for in camera is issued, all

 documents and transcripts shall be part of the public record. When in camera

 treatment is granted, a duplicate copy of such document or transcript with the

 Confidential Material deleted therefrom may be filed on the public record.

       11.    If any party receives a discovery request in any investigation or in any

 other proceeding or matter that may require the disclosure of Confidential Material

 produced by another party or third party in this action, the recipient of the


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 discovery request shall promptly notify the producing party of receipt of such

 request. Unless a shorter time is mandated by an order of a court of competent

 jurisdiction, such notification shall be in writing served on the producing party at

 least 10 business days before production and shall include a copy of this

 Confidentiality Order. Nothing herein shall be construed as requiring the recipient

 of the discovery request or anyone else covered by this Order to challenge or

 appeal any discovery request requiring production of Confidential Material, to

 subject itself to any penalties for non-compliance with any such request, or to seek

 any relief from the Court. The recipient shall not oppose the producing party’s

 efforts to challenge the disclosure of Confidential Material. Nothing herein shall

 limit the applicability of Rule 4.11(e) of the Commission’s Rules of Practice, 16

 C.F.R. § 4.11(e), to discovery requests in another proceeding that are directed to

 the Commission.

       12.    When any consultant or other person retained to assist counsel in this

 action concludes participation in the action, such person shall return to counsel all

 copies of documents or portions thereof designated confidential that are in the

 possession of such person, together with all notes, memoranda or other papers

 containing confidential information. At the conclusion of this proceeding,

 including the exhaustion of judicial review, the parties shall return or destroy

 documents obtained in this action to the producing parties, provided, however, that


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 the Commission’s obligation to return documents shall be governed by the

 provisions of Rule 4.12 of the Rules of Practice, 16 C.F.R. § 4.12.

       13.    The provisions of this Confidentiality Order, insofar as they restrict

 the communication and use of confidential discovery material, shall, without

 written permission of the producing party or further order of the Court, continue to

 be binding after the conclusion of this proceeding, and this Court retains

 jurisdiction over any disputes arising out of this Confidentiality Order.



       SO ORDERED, this ____ day of ____________, 2022.




                                               United States District Judge




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